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                 IN THE UNITED STATES DISTRICT COURT

                       FOR THE DISTRICT OF MONTANA

                                MISSOULA DIVISION

UNITED STATES OF AMERICA,                      )    CR 12-14-M-DWM
                                               )
                   Plaintiff,                  )
                                               )
      vs.                                      )          ORDER
                                               )
KENNETH DANIEL CHRESTENSEN,                    )
                                               )
                   Defendant.                  )
                                               )

      In his motion to change his plea, Defendant Kenneth Daniel Chrestensen

requested that the plea agreement be filed under seal. But he did not articulate any

reason why it should be filed under seal. He must do so under Local Rule 11.1:

“No plea agreement may be filed under seal unless a party moves for leave to seal

under L.R. CR 49.1.”

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      The Court has inherent power to seal documents filed in criminal and civil

cases. See United States v. Shryock, 342 F.3d 948, 983 (9th Cir. 2003) (citations

omitted); San Jose Mercury News, Inc. v. U.S. Dist. Ct., 187 F.3d 1096, 1101–02

(9th Cir. 1999). But this power must be balanced against the public’s “general

right to inspect and copy public records and documents, including judicial records

and documents.” Nixon v. Warner Communs., Inc., 435 U.S. 589, 597 & n.7

(1978). The party asking for leave to file under seal must “articulate compelling

reasons supported by specific factual findings that outweigh the general history of

access and the policies favoring disclosure, such as the public interest in

understanding the judicial process.” Kamakana, 447 F.3d at 1178–79 (citations

and internal quotation marks omitted). “In general, ‘compelling reasons’

sufficient to outweigh the public’s interest in disclosure and justify sealing court

records exist when such ‘court files might have become a vehicle for improper

purposes,’ such as the use of records to gratify private spite, promote public

scandal, circulate libelous statements, or release trade secrets.” Id. The mere fact

that public disclosure of records might lead to a party’s “embarrassment,

incrimination, or exposure to further litigation will not, without more, compel the

court to seal its records.” Id. (citation omitted)

      No compelling reasons to seal the plea agreement are presented or apparent

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here. Accordingly, IT IS HEREBY ORDERED that Chrestensen’s request that his

plea agreement be sealed is DENIED.

     Dated this 12th day of July 2012.




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